                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

  UNITED STATES OF AMERICA                      )
                                                )        Case No. 1:23-cr-37
  v.                                            )
                                                )        Judge Atchley
  JARED BROOME                                  )
                                                )        Magistrate Judge Steger
                                                )


                                             ORDER



        Defendant Jared Broome filed a Motion to Dismiss the Indictment [Doc. 16] and Motion

 to Suppress and Request for Franks Hearing [Doc. 17]. Accordingly, all deadlines set forth in the

 Court’s Discovery and Scheduling Order and Ends of Justice Order [Docs. 11 and 15] are hereby

 CONTINUED. These deadlines will be reset after the Court’s resolution of Defendant’s

 motions. Time necessary to resolve this motion is excludable under the Speedy Trial Act. See

 18 U.S.C. § 3161(h)(1).

        SO ORDERED.

                                             /s/Charles E. Atchley, Jr.
                                             CHARLES E. ATCHLEY, JR.
                                             UNITED STATES DISTRICT JUDGE




Case 1:23-cr-00037-CEA-CHS Document 19 Filed 08/14/23 Page 1 of 1 PageID #: 76
